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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


 IN RE: ZTMMER NEXGEN KNEE
        IMPLANT PRODUCTS                               MDL No. 2272
        LIABILITY LITIGATION
                                                       JOINTLY SUBMITTED
                                                       CASE MANAGEMENT ORDER
                                                       NO. r

 This Document Relates to AllCases                     Master Docket Case No. I : I I -cv-05468

                                                       Hon. Rebecca R. Pallmeyer

 I.     SCOPE OF THIS ORDER

         1.1    The provisions of this Order shall govem the practice and procedure of those

 actions that are transferred to this Court by the Judicial Panel on Multidistrict Litigation pursuant

 toitsOrderofAugustS,20ll. ThisOrdershallalsoapplytoany"tag-alongactions"laterfiled

 in, removed to, or transferred to this Court.

         1.2    Civil actions transferred to this Court are coordinated for pretrial purposes. This

 consideration, however, does not constitute a determination that any action or actions should be

 consolidated for trial, which may be made upon future request to the court; nor does      it have the

 effect of making any entity a party to any action in which that party has not been named, served,

 or added in accordance with the Federal Rules of Civil Procedure.

         1.3    Counsel are directed to familiarize themselves with the Manual          for   Complex

 Litigation, Fourth ("MCL   +'n"11ZOO+ ed.) and this Order.

         1.4    The Court requests the assistance of the appointed leadership for the parlies to

 make an effort in calling to the attention of the Clerk of this Court, the removal or transfer of any

 federal case which might be properly consolidated inMDL-2272, based upon the original

 transfer order of the JPML.
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 2.      FILING INSTRUCTIONS
         2.1      The Clerk of Court      will maintain   a master docket case   file under the designation

 In re Zimmer NexGen Knee Implant Products Liability Litigation, with the identification "MDL

 2272.* When a pleading is intended to be applicable to all actions, this shall be indicated by the

 words: "This Document           Relates to   All Cases." When a pleading is intended to apply to a
 specific case,   it shall be filed in that specific   case and not on the master docket. In that instance,

 the individual docket numbers of those actions to which the paper relates, as assigned by the

 Clerk of this Court, must al.so be listed.

         ?.2      Any paper filed in any of these actions thar is substantially identical to any other

 paper filed in another of these actions      will be sufficient if it incorporates by reference the paper

 to which   it is substantiatly identical. Where counsel for more than one party plan to file
 substantially identical papers, they must join in the submission of those papers and         will file only

 one paper on behalf of all sojoined.

         2.3       The Court   will   issue a Notice to all Attorneys regarding electronic   filing in MDL

 2272- All fitings should comply with the Northern District of Illinois ECF Administrative

 Procedures Manual and service through Electronic Case Filing shall be deemed sufficient with

 no additional service required, with the exception of new Complaints filed and                 Subpoenas

 issued, which shall be served in accordance with the Federal Rules of Civil Procedure.

         2.4       When an action that properly belongs as a part of the In re Zimmer NexGen Knee

 Implttnt Producrs Liabiliry Litigation is hereinafter filed in the Northem District of Illinois or is

 transferred tiom another court, the Clerk of Court shall make an appropriate entry on the rnaster

 docket sheet.
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 3.       ENTRY OF APPEARANCE

          3.1       The Courl expects all lawyers who have filed appearances in this case. or in any

 of the tag-along cases, to comply with this Court's Local Rules and to abide by the terms of the

 case management orders and protective orders. Counsel are so bound, whether or not they have

 filed (or will file) appearances in this Court. Any lawyer who will be active in this litigation and

 expects to be served with copies of court filings must file hisArer appeararlce in this Court and

 must register as an e-filer for purposes of this case. [n addition, the Court expects to establish a

 web site for posting of written opinions and for notice of any public hearings.

          Moreover, pro hac vice requirements (and the payment of associated fees) are waived for

 any attorney who has filed an appearance in a transferor court. Attorneys admitted to practice

 and in good standing of any United States District Court are admitted pro hac vice to practice in

 MDL-227?. Howsver, any lawyer who expects to participate in the proceedings in this Court                 i's


 required to file an appearance for electronic notice purposes.

 4.       CASE FILING

          4.1       The court   will   expect counsel to   file tag-along cases in an appropriate venue   and

 to provide prompt notice to this Court and the JPML of the propriety of transfer. "Tag along"

 cases   will   be transferred to this district according to the procedures established by the JPML.

 5.       SERVICE

          51,       Baker   &   Daniels, LLP, has been authorized         to accept service of   summons

 pursuant to F'ed. R. Civ. P. 4(d)           in federal cases involving the components identified in
 Conditional Transt'er Order 1, which are subject to transfer pursuant to 28 U.S.C. $ 1407, on

 behalf of any Zimmer distributor, Zimmer,Inc., Zimmer Holdings, Inc., Zimmer Surgical, lnc.

  (f/k/a Zimmer Orthopacdic Surgical Products, Inc.), Zimmer U.S., Inc., Zimmer Production, Inc.,

  and Zimmer Orthobiologics,       Inc. Service should be made upon the following:
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                                                Peter MeYer
                                         BAKER & DANIELS LLP
                                               suite 800
                                            111 E. WaYne Street
                                           Fort Wayne, IN 46802


        5.2     The parties have discussed and are contemplating a Master Complaint and Master

 Answer. Should the parties recommend such        a procedure to the   Court, that procedure shall be the

 subject of a separate order.

        5.3     Counsel agree to provide Lead and Liaison Counsel for the opposing party with

 courtesy copies of papers filed with the Clerk by email on the day of filing. However, service of

 all papers and pleadings shall continue to be effective when served in accordance with                the

 Federal Rules   of Civil   Procedure and the Northern District         of Illinois ECF Administrative

 Procedures Manual.

 6.     ORGANIZATION OF PLAINTIFFS' COUNSEL

        6.1     Lead Counsel. The Court has received motions and requests of Plaintitfs' counsel

 for organization and leadership. By Order of the Court on September 16, 201I (Doc. 48), the

 Court has appointed Plaintiffs' Co-Lead Counsel      as:


        Co-Lead Counsel- James R. Ronca, Anapol Schwartz P.C. Philadelphia, PA

        Co-Lead Counsel     -   Timothy Becker, Johnson Becker, Minneapolis, MN

         Co-Lead Counsel    -   Tobias Millrood, Pogust, Braslow and Millrood, Conshohocken, PA

         6.2     Lead Counsel     will   be responsible for prosecuting any potential common benefit

 claims, as well as coordinating the pretrial proceedings conducted by counsel for the individual

 personal injury plaintiffs, With respect to the general claims      lrad   Counsel must:

         (a)     determine (after such consultation           with   members    of   Plaintiffs' Steering

                 Committee and other co-counsel as may be appropriate) and present (in briefs,
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             oral argument, or such other fashion as may be appropriate, Personally or by a

             designee)     to the Court and opposing parties the position of the plaintiffs         on

             matters arising during pretrial proceedings;

       (b)   coordinate the initiation and conduct of discovery on behalf         of the plaintiffs

             consistent    with the requirements of Fed. R. Civ. P. 26, including                 the

             preparation of joint interrogatories and requests for production       of   documents

             and the examination of witnesses in depositions, except that discovery and

             motions initiated by the defendants directed to named individual plaintiffs         will

             be handled by the attorney for those individualsl

       (c)   delegate specific tasks to other counsel       in a manner to ensure that pretrial

             preparation     for the plaintiffs is   conducted effectively, efficiently and

             economically;

       (d)   enter into stipulations with opposing counsel necessary for the conduct of the

             litigation;

       (e)   call meetings of the Plaintiffs' Steering Committee for the purpose of
             proposing joint action;

       (0    organize themselves and agree on a plan for conducting the litigation on behalf

             of all Plaintiffs;

       (g)   file a Master Complaint;

       (h)   brief and argue motions for the plaintiffs and file opposing briefs and ergue

             motions and proceedings initiated by other parties (except as               to   matters

             specifically directed to individual plaintiffs and their counsel);

       (i)   consult with and employ expert witnesses;
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            0)    call meetings of Plaintiffs' counsel to consult with Plaintiffs' counsel on

                  matters of common concern;

            (k)   maintain time and expense records for work performed, costs incurred and

                  other disbursements made for any potential common benefit claim, proof of

                  potential common benefit claims and related matters on behalf of the Plaintiffs'

                  Steering Committee and report with reasonable regularity,       in writing, to   the

                  Plaintiffs' Steering Committee conceming expenses, disbursements                 and

                  receipts;

            (1)   monitor work performed by the Plaintiffs' Steering Committee and those

                  whose work it has specifically authorized;

            (m)   perform all tasks necessary to carry out the functions of Lead Counsel and to

                  properly coordinate Plaintiffs' pretrial activities;

            (n)   authorize Plaintiffs' counsel to initiate case specific motions and discovery;

            (o)   negotiate settlements subject to court approval on behalf of Plaintiffs;

            (p)   if there is a settlement, propose a plan of allocation;

            (q)   prepare and distribute to the parties periodic status reports; and

            (r)   coordinate and communicate with Defendants' counsel with respect to the matters

                  addressed in this paragraph.

            6-3   No discovery or other action or work in this litigation will be undertaken on

 behalf of any Plaintiff except at the direction or with permission of Lead Counsel; provided,

 however, that any attorney aggrieved by any refusal of permission rnay seek Court review of the

 refusal.
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        6-4     Liaison Counsel. By Order of the Court on September         16,20ll   (Doc. 48), the

 Court has appointed Plaintiffs' Liaison Counsel   as:


               Peter Flowers, Foote Meyers Mielke & Flowers, P,C., Chicago, IL.

        o.)    Plaintiff's Liaison Counsel must:

        (a)     maintain and distribute to the Court, co-counsel and to Defendants' Liaison

                Counsel an up-to-date service list of all Plaintiffs' Counsel, including the date   of

                the most recent revision;

        (b)     receive and, as appropriate, distribute to co-counsel Orders from the Court and

                documents from opposing parties and counsel;

        (c)     act as a spokesperson on behalfofPlaintiffs at pre-trial conferences and hearing,

                subject to the right of each party to present individual or divergent positions; and

        (d)     coordinate and communicate with Defendants' counsel with respect to the matters

                addressed in this paragraph.

        6.6     Plaintiffs' Steering Committee. The Cou( has received motions and requests of

 Plaintiffs' counsel for organization and leadership. By Order of the Couil on September     16,


 2011 (Doc. 48), the Court has appointed Plaintiffs' Steering Committee to be:

        Richard Arsenault, Neblett, Beard & Arsenault, Alexandria, LA
        Doug Monsour, Monsour Law Firm, Longview, TX
        Joseph Osborne, Babbit, Johnson, Osborne and LeClainche, West Palm Beach, FL
        Sheila Bossier, Bossier and Associates, Jackson, MS
        Daniel Lapinski, Wilentz, Goldman aurd Spitzer, Woodhridge, NJ
        Ronald Goldser, Zimmerman Reed, Minneapolis, MN
        Neil D. Overholtz, Aylstock, Witkin, Kreis & Overholtz, Pensacola, FL
        Hunter J. Shkolnik, Napoli Bern Ripka Shkolnick, LLP. New York, NY
        Randi Kassan , Sanders Viener Grossman, LLP, Mineola, NY
        Alyson Oliver, Kresch Oliver, Southfield, MI
        Michael London, Douglas and London, New York, NY
        Robeft Gordon, Weitz and Luxenberg, New York, NY
        Karen H. Beyea-Schroeder, Fleming & Associates, Houston, TX
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        Daniel Burke, Parker Waichman Alonso, Port Washington, NY
        W. Mark Lanier, The Lanier Law Firm, Houston, TXI

        6;l     Plaintiff's' Steering Committee must:

        (a)    from time to time consult with Plaintiffs' I-rad Counsel in coordinating                 the

               Plaintiffs' pretrial activities and in planning for trial;

        (b)    establish procedures       for documenting and monitoring costs and          computation

               potential common benefit time;

        (c)    consult with the MCL 4ih to consider recornrnendations and forrnation of internal

               committees (e.g., Law, Discovery, Science, Marketing, Experts, Trial, and

               Liaison) and attorneys who are not designated as PSC members               will     have the

               opportunity to serve on a committee and have input in the litigation through the

               committee, Consistent with MCL 4th $ 10.22, counsel appointed to leadership

               positions assume "an obligation to act fairly, efficiently, and economically" and

                "committees of counsel...should try to avoid unnecessary duplication of effort;"

                and

        (d)     assist Plaintiffs'   Irad Counsel with matters   addressed in 6.1 of this Order.




 I        The Court's Minure Entry and Order of September 16,201I (Doc. 48) is corrected to
 reflect that the application of Vincent J- Moccio (Doc. 33) was withdrawn, as announced at the
 Court's scheduling conference of September 16, 201 l.
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 7.     COMPENSATION OT TIME AND EXPENSE RECORDS

        1.1     Counsel who anticipate seeking an award of attorneys' fees and reimbursement         of

 expendiiures from the Court must comply with the directives contai[ed in the Manual for

 Complex Litigation, 4'h ru.213 and 40.23, regarding the maintenance and                      filing of
 contemporaneous records reflecting the services performed and the expenses incurred. Bilting

 records should provide sufficient detail to enable the Court to deterrnine the necessity and

 propriety of the work performed, when the time for such a determination comes. Such records

 will be maintained by Lead counsel.      Lead Counsel, Liaison Counsel and the PSC are appointed

 with the understanding that they will not be compensated for services rendered in their court-

 appointed positions without applying to the Court for reimbursement of costs and cornpensation

 for time. However, if the efforrs of counsel confer a substantial benefit on other counsel         and


 their clients, the Court may, upon motion, consider reimbursing counsel for costs expended for

 the common benefit of plaintiffs and providing compensation to counsel on terms to                  be


 determined and which   will   be the subject   of a future Order of this Court. Counsel are expected to

 document their time and expenses,      in the interim, consistent with a method     as determined and

 suggested in 6.7(b).

 E.     ORGANIZATION OF DEFENSE COUNSEL

        8.1     Designation of Defendants' Lead and Liaison Counsel. Lead Counsel for the

 Zimmer f)efendants shall be:

                Joseph H. Yeager, Jr., Baker Daniels, LLP, lndianapolis, IN

                Andrea Roberts Pierson, Baker Daniels, LLP, lndianapolis, IN

                Liaison Counsel for Zimmer shall be:

                Kurt Stitcher, Baker & Daniels, LLP, Chicago, IL
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           8.2     As all det'endants in all actions currently and likely to be consolidated in MDL-

  2272 are represented by Det'endants'Leacl and Liaison Counsel, Defendants' trad and Liaison

  Counsel have     full authority in all matters     related to the representation   of their clients in   this

  matter, including but not limited to the tasks listed in the MCL     4'h   g 40.22(4).

  9.       HEARINGS

           9.1     The Court     will hold   status conferences approximately every six weeks. Dates        for

  currently-scheduled status conferences are as follows:

           November 10, 201I

           January 12,2012

           February 24,2012

           April t3,2012

           June 1,2012

           July 13, 2012

  All   conferences are set for 9:30 a.m, The parties are expected to prepare an agenda which shall

  be submitted to the Court in advance of the status confer€nces, by Lead and/or Liaison Counsel

  no later than three days prior to the status conference. The parties are expected to confer on

  issues to be addressed with the Court at the status conferences.

           9.2     Any party will be free to present filed motions for hearing at the regularly-

  scheduled conferences, and the parties shalt advise the Court        in advance should they agree that

  any scheduled conference is unnecessary or should be advanced or postponed.

           9.3     Where exigent circumstances require an earlier ruling, the Court will hear motions

  on its regularly scheduled motion calendar, as well. The parties           will provide five   business days'

  notice   in   advance   of   presentation   of any motion, whether at the regularly-scheduled status
  conference or on any other date. Any exigent motions filed shall be served upon Lead Counsel

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  for Plaintiffs. Non-exigent motions will be expected to be heard at the regularly-scheduled

  conferences.

         9.4     The parties agree to present rnotions in a timely fashion so that they will be ripe at

  the tirne of the regularly-scheduled status conferences. Unless otherwise ordered by the Court,

  such motions must be tiled no later than seventeen (17) days in advance            of the conference; any

  response must be   filed no later than seven (7) days in advance of the conference; any replies

  must bc filed no later t]an three (3) days in advance of the conference. Surreplies are not as of

  right and leave must be sought from the Court for the filing of same.

         9,5     The parties agree that the Court ordinarily should rule upon motions on the basis

  of the papers filed, however, this        paragraph should not prevent any party from requesting a

  hearing on any matter he/she deems to be non-routine or substantive, and the Court,                in    its

  discretion, may order a hearing in such matters.

  10.     PENDING MOTIONS AND ORDERS

          l0.l   The following motions are pending and ripe for ruling:              (l)   ]ames Krammes   v.


  Zimmer, Inc., et aJ.       -   Motion To Dismiss Plaintiffs' Complaint     -   Jury Trial Demand By The

  Defendants, Zimmer,Inc., And Zimmer Holdings,            Inc.;   and (2) Carol Hasse-Jung,kurt, et al. v.

  Zimmer, lnc., et a/.   -   Mntion To Dismiss Plaintiffs'Complaint     -   Jury Trial Demand. Defendants

  have agreed to withdraw the motions under conditions agreed to by Plaintiffs, which are

  separately documented, including but not limited         to the filing of an amended complaint           by

  October3l,2011.

          lO.2 The parties shall advise the Court of any pending motions in matters transferred            to

  MDL-2272 after the date of this Order.




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  tr.     DISCOVERY MOTIONS

           ll.l     The parties will be expected to meet and confer before filing any motion other

  than a dispositive motion or a motion for a Dauberr ruling.

           ll.2     Discovery reguests and responses will not be filed with this Court except when

  specificaliy ordered by the Court or to the extent needed in connection wittr the motion.

           11.3     Each party shall take reasonable steps to preserve documents and other records,

  including electronic documents, containing information potentially relevant to the subject matter

  of this litigation.

           I   L4   Other matters of discovery protocols and procedure   will   be the subject of a future

  order of this Court.

  12.     COMMUNICATION WITH THE, COURT AND AMONG THE PARTIES

           tz.l     Ex parte communications with the Court shall not be perrnitted.

           L2.2     The communication of information among and between plaintiffs' counsel and

  among and between defendants' counsel shall not be deemed to be a waiver of the attorney-client

  privilege or the protection afforded by the attorney work product privilege, and cooperative

  efforts among the parties shall not be used in any manner to contend that there has been a waiver

  of the attorney-client or    attorney work product privilege. The parties preserve their right to

  challenge the privilege and protection later in specific circumstances.




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  For the plaintiffs:

  /s/ Tobias Millrood                Dated: November 3,2011
  Lead Counsel

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  For the defendants:

  /s/ Joseph H. Yeaeer. Jr.          Dated: November   3,20ll
  Lead Counsel

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